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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
******************** *
JODI K. HUPE, mother and        *
next friend of B.A.H., a minor, *
                                *                    No. 14-448V
                   Petitioner,  *                    Special Master Christian J. Moran
                                *
v.                              *                    Filed: January 8, 2016
                                *
SECRETARY OF HEALTH             *                    Attorney’s fees and costs; award in
AND HUMAN SERVICES,             *                    the amount to which respondent does
                                *                    not object.
                   Respondent.  *
******************** *
Theodore G. Pashos, Esq., Niedner, Bodeux, Carmichael, Huff, Lenox and Pashos,
L.L.P., St. Charles, MO, for Petitioner;
Amy Kokot, United States Dep’t of Justice, Washington, DC, for Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On January 6, 2016, petitioner filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, petitioner
informally submitted a draft application for attorneys’ fees and costs to respondent
for review. Upon review of petitioner’s application, respondent raised objections
to certain items. Based on subsequent discussions, petitioner amended her
application to request $25,000.00 for attorneys’ fees and costs incurred by
petitioner’s counsel, an amounts to which respondent does not object. The Court
awards this amount.

       On May 27, 2014, Jodi K. Hupe, mother and next friend of B.A.H., filed a
petition for compensation, alleging that the Gardasil vaccination, which she
received on June 1, 2011, caused B.A.H. to lose consciousness and fall, suffering

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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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injuries to her jaw and face. Petitioner received compensation based upon the
parties’ proffer. Decision, issued July 9, 2015. Because petitioner received
compensation, she is entitled to an award of attorneys’ fees and costs. 42 U.S.C. §
300aa-15(e).

     Petitioner seeks a total of $25,000.00 in attorneys’ fees and costs.
Respondent has no objection to the amount requested for attorneys’ fees and costs.

        After reviewing the request, the Court awards the following:

        A lump sum of $25,000.00, in the form of a check made payable to
        petitioner and petitioner’s attorney, Theodore G. Pashos, for attorneys’
        fees and other litigation costs available under 42 U.S.C. § 300aa-15(e).

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.

        Any questions may be directed to my law clerk, Dan Hoffman, at (202) 357-
6360.

        IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

                                        )
JODI K. HUPE, Mother and Next Friend of )
B.A.H., a Minor,                        )
                                        )
              Petitioner,               )
                                        )             No. 14-448V (ECF)
v.                                      )             Special Master Moran
                                        )
SECRETARY OF HEALTH AND                 )
HUMAN SERVICES,                         )
                                        )
              Respondent.               )
                                        )

 STIPULATION OF FACT CONCERNING FINAL ATTORNEYS’ FEES AND COSTS

       It is hereby stipulated by and between the parties, the following factual matters:

      1.       Theodore G. Pashos, Esq., of the law firm Niedner, Bodeux, Carmichael, Huff,
               Lenox, and Pashos, L.L.P., is the attorney of record for petitioner in this matter.

      2.       Petitioner informally submitted an amended Application for Attorneys’ Fees and
               Costs (“Application”) to respondent on or about December 30, 2015.

      3.       During informal discussions, respondent raised certain objections to petitioner’s
               Application. Based on these discussions, petitioner has amended her request for
               attorneys’ fees and costs in this matter to request reimbursement for attorneys’ fees
               and costs in the amount of $25,000.00.

      4.       Respondent does not object to the amended request.

      5.       Pursuant to General Order #9, petitioner represents that she has not incurred
               any personal litigation costs in pursuit of this claim.

      6.       The parties now request that a decision awarding the attorneys’ fees and costs
               described in paragraph 3 of this Stipulation be issued, directing payment in the
               form a check for $25,000.00 made payable jointly to petitioner and petitioner’s
               counsel.

      7.       Nothing in this Stipulation, including the amount set forth in paragraphs 3 and 6,
               should be construed as an admission, concession, or waiver by either party as to any
               of the matters raised by petitioner’s request for attorneys’ fees and costs, including

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             but not limited to the hourly rates requested, the number of hours requested, and
             other litigation-related costs.

                                                  Respectfully submitted,

Dated:       January 6, 2016                      By:    s/Theodore G. Pashos by s/APK
                                                  THEODORE G. PASHOS
                                                  Attorney for Petitioner
                                                  Niedner, Bodeux, Carmichael, Huff,
                                                  Lenox, and Pashos, L.L.P.
                                                  131 Jefferson Street
                                                  St. Charles, MO 63301
                                                  Tel: (636) 949-9300

Dated:       January 6, 2016                      By:    s/Amy P. Kokot
                                                  AMY P. KOKOT
                                                  Attorney for Respondent
                                                  Torts Branch, Civil Division
                                                  U.S. Department of Justice
                                                  P.O. Box 146
                                                  Ben Franklin Station
                                                  Washington, DC 20044-0146
                                                  Tel: (202) 616-4118




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